Case 1:20-cv-11253-RWZ Document 65 Filed 05/26/21 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

 

PARTS iD, LLC, a New Jersey limited liability Civil Action No. 20-cv-11253-RWZ
company,

Plaintiff,

Vv.

IDPARTS LLC, a Massachusetts limited liability
company,

Defendant.

 

IDPARTS, LLC

Counterclaim Plaintiff,

v.

PARTS iD, LLC and PARTS iD, INC.
Counterclaim Defendants

((Vgoreresen) ORDER RE: JOINT STIPULATED MOTON FOR AN

EXTENSION OF TIME OF ALL SCHEDULING DEADLINES

 

 

The Court having reviewed the Parties’ Joint Stipulated Moton for an Extension of Time
of All Scheduling Deadlines; and good cause appearing,

IT IS ORDERED that Plaintiff/Counterclaim Defendant PARTS iD, LLC and
Defendant/Counterclaim Plaintiff IDParts LLC shall have through and including the following

scheduling deadlines:
Case 1:20-cv-11253-RWZ Document 65 Filed 05/26/21 Page 2 of 2

 

Event

Original Date

Extended To

 

The party with the burden of
proof on any claim or defense
shall disclose affirmative
expert reports or statements
compliant with F.R.C.P.
26(a)(2)

June 11, 2021

July 31, 2021

 

A party seeking to rebut an
expert designated by another
party shall disclose rebuttal
expert reports complaint with
F.R.C.P. 26(a)(2)

July 12, 2021

August 31, 2021

 

Parties to meet and confer

July 21, 2021

September 9, 2021

 

 

regarding scheduling of

expert depositions

Reply expert reports August 11, 2021 September 30, 2021
Completion of Discove

Deaaline y August 30, 2021 October 19, 2021

 

Dispositive Motion and
Daubert Motion Deadline

August 30, 2021

October 19, 2021

 

Response!

September 20, 2021

November 9, 2021

 

Reply

October 4, 2021

November 23, 2021

 

Final Pretrial Conference

October 11, 2021 or at the

Court’s convenience

November 30, 2021

 

Trial Date and Length

 

 

October 18, 2021
(5-day trial)

 

December 6, 2021

 

Q
Entered on this 26" day of 20 2(

2021.

 

By THE COURT

2.) 20

Judge Rya W. Zobel

 

' Should a party file a dispositive motion after the early motion deadline that has already passed,
but prior to this October 19, 2021 deadline, the Court’s Local Rules shall dictate the deadlines
for responses and a reply, if any.
